                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

In re:                                         )
                                               )        Chapter 11
Curae Health, Inc.,                            )        Case No. 18-05665
Amory Regional Medical Center, Inc.,           )        Case No. 18-05675
Batesville Regional Medical Center, Inc.,      )        Case No. 18-05676
Clarksdale Regional Medical Center, Inc.       )        Case No. 18-05678
Amory Regional Physicians, LLC                 )        Case No. 18-05680
Batesville Regional Physicians, LLC            )        Case No. 18-05681
Clarksdale Regional Physicians, LLC            )        Case No. 18-05682
                                               )
1721 Midpark Road, Suite B200                  )        Judge Walker
Knoxville, TN 37921                            )
                           Debtors.            )        Joint Administration Pending

   EXPEDITED MOTION OF DEBTORS FOR ENTRY OF AN ORDER DIRECTING
  JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES AND APPROVING
                  CASE MANAGEMENT PROCEDURES

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby move the

Court (the “Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A

(the “Order”), pursuant to sections 102 and 105(a) of title 11 of the United States Code (the

“Bankruptcy Code”); Rules 1015(b), 2002(m), and 9007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”); and Rule 2081-1 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the Middle District of

Tennessee (the “Local Rules”), directing the joint administration of these chapter 11 cases and

the consolidation thereof for procedural purposes only and establishing certain notice, case

management, and administrative procedures. In support of the Motion, the Debtors rely upon the

Declaration of Stephen N. Clapp, Chief Executive Officer of Curae Health, Inc., in Support of

Chapter 11 Petitions and First Day Pleadings, filed with the Court concurrently herewith (the

“First Day Declaration”). In further support of the Motion, the Debtors, by and through their

undersigned counsel, respectfully represent:


64901774.1
Case 3:18-bk-05665       Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51            Desc Main
                                  Document     Page 1 of 17
                                 JURISDICTION AND VENUE

         1.      This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and the Motion

in this district is proper under 28 U.S.C. §§ 1408 and 1409.

         2.      The statutory predicates for the relief requested herein are Bankruptcy Code

section 105(a), Bankruptcy Rule 1015(b).

                                         BACKGROUND

         3.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The factual background regarding the Debtors, including their business

operations, their debt structures, and the events leading to the filing of the Chapter 11 Cases, is

set forth in detail in the First Day Declaration and fully incorporated herein by reference.

         4.      The Debtors continue to manage and operate their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108. No trustee or examiner has

been requested in the Chapter 11 Cases and no committees have yet been appointed.

                                      RELIEF REQUESTED

         5.      By this Motion, the Debtors seek entry of an order directing the joint

administration of these Chapter 11 Cases and the consolidation thereof for procedural purposes

only. Many of the motions, applications, hearings, and orders that will arise in these Chapter 11

Cases will affect most, if not all, of the Debtors jointly. For that reason, the Debtors respectfully

submit that their interests, as well as the interests of their creditors and other parties in interest,

would be best served by the joint administration of these Chapter 11 Cases for procedural

purposes only.



                                                 -2-
64901774.1
Case 3:18-bk-05665        Doc 3     Filed 08/24/18 Entered 08/24/18 17:23:51              Desc Main
                                    Document     Page 2 of 17
         6.      The Debtors further seek entry of an order directing the Clerk of the Court to

maintain one file and one docket for all of these Chapter 11 Cases under the case of Curae

Health, Inc. In addition, the Debtors seek the Court’s direction that separate docket entries be

made on the dockets of each Chapter 11 Case (except that of Curae Health, Inc.) substantially as

follows:

                 “An order has been entered in this case directing the procedural
                 consolidation and joint administration of the chapter 11 cases of
                 Curae Health, Inc. and its affiliates that have concurrently
                 commenced chapter 11 cases. The docket in the chapter 11 case of
                 Curae Health, Inc., Case No. 18-05665, should be consulted for all
                 matters affecting this case.”

         7.       The Debtors further request that the caption of these Chapter 11 Cases be

modified as follows to reflect their joint administration:

                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

In re:                                                )
                                                      )           Chapter 11
Curae Health, Inc., et al.1                           )           Case No. 18-05665
                                                      )
1721 Midpark Road, Suite B200                         )           Judge Walker
Knoxville, TN 37921                                   )
                           Debtors.                   )           Jointly Administered




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Curae Health, Inc. (5638); Amory Regional Medical Center, Inc. (2640); Batesville Regional Medical
Center, Inc. (7929); and Clarksdale Regional Medical Center, Inc. (4755); Amory Regional Physicians, LLC (5044);
Batesville Regional Physicians, LLC (4952); Clarksdale Regional Physicians, LLC (5311).


         8.      Debtors further seek an order establishing certain notice, case management and

administrative procedures, all subject to further order of the Court, including: (a)




                                                       -3-
64901774.1
Case 3:18-bk-05665            Doc 3     Filed 08/24/18 Entered 08/24/18 17:23:51                     Desc Main
                                        Document     Page 3 of 17
administratively consolidating the Chapter 11 cases, (b) limiting the notice procedures in the

Chapter 11 cases; and (c) designating the parties upon whom notice must be served.

         9.     By regulating the service, notice and filing requirements at the outset of these

cases, the Court will establish a standard procedure for noticing of creditors and parties in

interest and minimize confusion regarding such important procedural matters. Further, these

proposed procedures will ease the Court’s administration of these cases and dramatically reduce

the economic burdens on the Debtors’ estates.

         10.    Specifically, the Debtors propose that every notice, motion or application, and all

briefs, memoranda, affidavits, declarations or other documents filed concurrently in support

thereof in these cases (collectively, the “Filings”) shall be subject to the notice procedures

described below (the “Notice Procedures”), unless otherwise ordered by the Court.


                                      BASIS FOR RELIEF

                11.    Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending

in the same court by or against a debtor and an affiliate, “the court may order a joint

administration of the estates.” Debtor Curae Health, Inc. is the sole member and sponsor of

Debtors Amory Regional Medical Center, Inc., Batesville Regional Medical Center, Inc., and

Clarksdale Regional Medical Center, Inc. Amory Regional Medical Center, Inc. is the sole

member of Debtor Amory Regional Physicians, LLC. Batesville Regional Medical Center, Inc.

is the sole member of Debtor Batesville Regional Physicians, LLC. And Clarksdale Regional

Medical Center, Inc. is the sole member of Debtor Clarksdale Regional Physicians, LLC.

Debtors, therefore, are “affiliates” within the meaning of Bankruptcy Code section 101(2) and,

accordingly, this Court has the authority to grant the requested relief pursuant to Bankruptcy

Rule 1015(b).


                                                -4-
64901774.1
Case 3:18-bk-05665        Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51            Desc Main
                                   Document     Page 4 of 17
         12.   Joint administration of these Chapter 11 Cases will ease the administrative burden

on this Court and all parties in interest. Joint administration of these Chapter 11 Cases will not

prejudice creditors or other parties in interest because joint administration is purely procedural

and will not impact the parties’ substantive rights.

         13.   Bankruptcy Courts routinely order joint administration of related chapter 11 cases

for procedural purposes. See, e.g., In re Vanguard Healthcare, LLC, Case No. 16-03296 (Bankr.

M.D. Tenn. May 6, 2016) [Docket No. 30]; In re ProNerve Holdings, LLC, Case No. 15-10373

(KJC) (Bankr. D. Del. Feb. 26, 2015) [Docket No. 30]; In re Entegra Power Grp. LLC, Case No.

14-11859 (PJW) (Bankr. D. Del. Aug. 6, 2014) [Docket No. 36]. Accordingly, based on the

foregoing facts and authorities, the Debtors submit that the relief requested in this Motion should

be granted.

         14.   Bankruptcy Rule 2002(a) provides that, unless otherwise ordered by the Court,

notice of certain matters must be given to, among others, all of the Debtors’ creditors, equity

security holders and other parties in interest. The Bankruptcy Rules, however, further provide,

that “[t]he Court may from time to time enter orders designating the matters in respect to which,

the entity whom, and the form and manner in which notices shall be sent except as otherwise

provided by these rules.” FED. R. BANKR. P. 2002(m); see also FED. R. BANKR. P. 9007 (“[w]hen

notice is to be given under these rules, the Court shall designate, if not otherwise specified

herein, the form and manner in which the notice shall be given.”).

         15.   In addition, section 105(a) of the Bankruptcy Code grants bankruptcy courts

broad authority and discretion to enforce the provisions of the Bankruptcy Code either under

specific statutory fiat or under equitable common law principles. Specifically, Section 105(a) of

the Bankruptcy Code provides:



                                                -5-
64901774.1
Case 3:18-bk-05665        Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51           Desc Main
                                   Document     Page 5 of 17
         The court may issue any order, process, or judgment that is necessary or
         appropriate to carry out the provisions of this title. No provision of this title
         providing for the raising of an issue by a party in interest shall be construed to
         preclude the court from, sua sponte, taking any action or making any
         determination necessary or appropriate to enforce or implement court orders or
         rules, or to prevent the abuse of process.

11 U.S.C. § 105(a). Section 102(1) of the Bankruptcy Code provides, inter alia, that when the

Bankruptcy Code provides for an action to occur “after notice and a hearing” that such action

may occur “after such notice as is appropriate in the particular circumstances, and such

opportunity for a hearing as is appropriate in the particular circumstances.” 11 U.S.C. §

102(1)(A).

         16.    There are over one thousand creditors and potential creditors and many other

parties in interest involved in the Debtors’ Chapter 11 Cases, each of which may be entitled to

certain notices, including notices under Bankruptcy Rules 2002(a)(2) and (3). In addition, the

Debtors expect many parties will file notices of appearance and requests for notices and copies

of pleadings as these cases proceed (the “2002 List Parties”). The potential costs associated with

copying and mailing or otherwise serving all Filings on all creditors and parties in interest, as

well as all 2002 List Parties would impose an undue and expensive administrative and economic

burden on the Debtors’ estates. Similarly, allowing electronic service of documents according to

the Notice Procedures will further reduce the administrative and financial burden on the Debtors’

estate, as well as on other serving parties, and will, in many cases, allow for more expedient

service of documents.

         17.    Accordingly, pursuant to Sections 102(1) and 105(a) of the Bankruptcy Code and

applicable Bankruptcy Rules, the Debtors propose that the Court enter an order consolidating the

Chapter 11 Cases for administrative purposes, limiting the notice procedures in these Chapter 11

Cases, and designating certain parties who must receive notice of the Filings and of certain


                                               -6-
64901774.1
Case 3:18-bk-05665        Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51           Desc Main
                                   Document     Page 6 of 17
matters, including, but not limited to, the matters described in Bankruptcy Rules 2002(a)(2) and

(3), 4001, 6004, 6006, 6007 and 9019.

                             PROPOSED NOTICE PROCEDURES

         18.   The Debtors propose that all Filings in these cases shall be served upon the

following list (the “Master Service List”) of parties or entities:

               (a) the Debtors and their counsel;

               (b) the Office of the United States Trustee for the Middle District of Tennessee;

               (c) the Centers for Medicare and Medicaid Services;

               (d) the State of Tennessee Department of Health Division of Licensure and

               Regulation Office of Health Care Facilities;

               (e) the Mississippi State Department of Health;

               (f) those parties listed on the consolidated list of creditors holding the thirty (30)

               largest unsecured claims against the Debtors, as identified on the chapter 11

               petitions;

               (g) counsel to any official committee(s) establish in these cases pursuant to

               Section 1102 of the Bankruptcy Code;

               (h) ServisFirst Bank and its counsel;

               (i) Midcap Financial Trust and its counsel;

               (j) CHS/Community Health Systems, Inc. and its counsel;

               (k) all Tennessee local counsel having entered a notice of appearance in these

               cases;

               (l) the Internal Revenue Service;

               (m) the Tennessee Attorney General’s Office;



                                                -7-
64901774.1
Case 3:18-bk-05665          Doc 3   Filed 08/24/18 Entered 08/24/18 17:23:51              Desc Main
                                    Document     Page 7 of 17
                (n) the Mississippi Attorney General’s Office;

                (o) the Tennessee Secretary of State; and

                (p) any party that has requested notice pursuant to Bankruptcy Rule 2002.

         19.    BMC Group, Inc. (“BMC Group”) will serve as the official notice agent in these

Chapter 11 Cases as further described below.

         20.    In any case for which particular notices are required by Bankruptcy Rules

2002(a)(2) and (3), 4001, 6004, 6006, 6007, or 9019, parties shall serve all such Filings on the

Master Service List herein.

         21.    All other Filings shall be served on the Master Service List and also on each

entity with a particularized interest in the subject of the Filing.

         22.    Service of all Filings shall be sufficient if by first class mail, electronic mail (if

available), or facsimile (if available).

         23.    Notice given in accordance with the foregoing Notice Procedures shall be deemed

adequate pursuant to the Bankruptcy Code, the Bankruptcy Rules and the Local Rules.

         24.    The Debtors believe that adopting the Notice Procedures will substantially reduce

administrative burdens and result in substantial cost savings to the Debtor’s estates because of

the reduction of time and money the Debtors will have to expend on the Filings. The Debtors

further believe that adopting the Notice Procedures will also significantly reduce the

administrative economic burden placed on creditors and parties in interest when filing the

Filings.

         25.    Pursuant to the terms of the Notice Procedures, all parties in interest that may be

directly affected by the relief sought by a particular Filing will receive notice of such Filing

directly from the party submitting the Filing to the Court. Thus, no party will be adversely



                                                  -8-
64901774.1
Case 3:18-bk-05665         Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51             Desc Main
                                    Document     Page 8 of 17
affected. For these reasons, the Debtors believe the Notice Procedures are appropriate and should

be approved and implemented in these cases.

         26.   Pursuant to the Notice Procedures, all parties on the 2002 List and all other parties

in interest that may be directly affected by the relief sought in a particular filing will receive

notice of such filing directly from the party submitting such documents to the Court well in

advance of the applicable hearing.

         27.   Further, all parties in this case who are registered participants in the Court’s

CM/ECF system will receive a “Notice of Electronic Filing” via electronic mail whenever a

filing is effected, which will provide additional notice to such parties. Although email is nearly

universally available, if a party cannot reasonably obtain access to email, then such party may

request and receive paper copies from the Debtors or from BMC Group.

         28.   The establishment of the Notice Procedures will promote the efficient and orderly

administration of the Debtors’ Chapter 11 cases and will ease the administrative and economic

burdens on the Court and the Debtors’ estates.

                                            NOTICE

         29.   Notice of this Motion will be given to: (a) the Office of the United States Trustee

for the Middle District of Tennessee; (b) the Centers for Medicare and Medicaid Services; (c) the

State of Tennessee Department of Health Division of Licensure and Regulation Office of Health

Care Facilities; (d) the Mississippi State Department of Health; (e) those parties listed on the

consolidated list of creditors holding the thirty (30) largest unsecured claims against the Debtors;

(f) counsel to any official committee(s) establish in these cases pursuant to Section 1102 of the

Bankruptcy Code; (g) ServisFirst Bank and its counsel; (h) Midcap Financial Trust and its

counsel; (i) CHS/Community Health Systems, Inc. and its counsel (j) all Tennessee local counsel

having entered a notice of appearance in these cases; (k) the Internal Revenue Service; (l) the

                                                 -9-
64901774.1
Case 3:18-bk-05665        Doc 3      Filed 08/24/18 Entered 08/24/18 17:23:51          Desc Main
                                     Document     Page 9 of 17
Tennessee Attorney General’s Office; (m) the Mississippi Attorney General’s Office; (n) the

Tennessee Secretary of State; and (o) any party that has requested notice pursuant to Bankruptcy

Rule 2002. The Debtors submit that, under the circumstances, no other or further notice is

required.

                                     NO PRIOR REQUEST

         30.   No prior motion for the relief requested herein has been made to this or any other

court.

         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A: (i) directing the joint administration of

these Chapter 11 Cases and consolidating them for procedural purposes only pursuant to

Bankruptcy Code section 105(a), Bankruptcy Rule 1015(b); (ii) establishing certain notice, case

management, and administrative procedures; and (iii) granting such other and further relief as the

Court deems appropriate.

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                                              - 10 -
64901774.1
Case 3:18-bk-05665         Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51          Desc Main
                                   Document      Page 10 of 17
Dated: August 24, 2018                  Respectfully submitted,
       Nashville, Tennessee
                                        POLSINELLI PC

                                        /s/ Michael Malone
                                        Michael Malone
                                        401 Commerce Street, Suite 900
                                        Nashville, TN 37219
                                        Telephone: (615) 259-1510
                                        Facsimile: (615) 259-1573
                                        mmalone@polsinelli.com

                                        -and-

                                        David E. Gordon (Pro Hac Vice Pending)
                                        Caryn E. Wang (Pro Hac Vice Pending)
                                        1201 West Peachtree Street NW
                                        Atlanta, Georgia
                                        Telephone: (404) 253-6000
                                        Facsimile: (404) 684-6060
                                        dgordon@polsinelli.com
                                        cewang@polsinelli.com

                                        Proposed Counsel to the Debtors and
                                        Debtors in Possession




                                         - 11 -
64901774.1
Case 3:18-bk-05665     Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51      Desc Main
                               Document      Page 11 of 17
                                     Exhibit A

                                  Proposed Order




64901774.1
Case 3:18-bk-05665   Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51   Desc Main
                             Document      Page 12 of 17
                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

In re:                                                  )
                                                        )           Chapter 11
Curae Health, Inc.,                                     )           Case No. 18-05665
Amory Regional Medical Center, Inc.,                    )           Case No. 18-05675
Batesville Regional Medical Center, Inc.,               )           Case No. 18-05676
Clarksdale Regional Medical Center, Inc.                )           Case No. 18-05678
Amory Regional Physicians, LLC                          )           Case No. 18-05680
Batesville Regional Physicians, LLC                     )           Case No. 18-05681
Clarksdale Regional Physicians, LLC                     )           Case No. 18-05682
                                                        )
1721 Midpark Road, Suite B200                           )           Judge Walker
Knoxville, TN 37921                                     )
                           Debtors.                     )           Joint Administration Pending


     EXPEDITED ORDER (I) DIRECTING JOINT ADMINISTRATION OF RELATED
    CHAPTER 11 CASES, (II) APPROVING CASE MANAGEMENT PROCEDURES, AND
                        (III) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) directing the joint

administration of these Chapter 11 Cases and the consolidation thereof for procedural purposes

only and establishing certain notice, case management, and administrative procedures; and upon

the First Day Declaration; and this Court having found that it has jurisdiction to consider the

Motion pursuant to 28 U.S.C. § 1334; and this Court having found that the Motion is a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that venue of these

Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this Court having determined that the relief requested in the Motion is in the best

interests of the Debtors, their estates, their creditors, and other parties in interest; and it appearing

that proper and adequate notice of the Motion has been given and that no other or further notice


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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



64901774.1
Case 3:18-bk-05665              Doc 3     Filed 08/24/18 Entered 08/24/18 17:23:51                     Desc Main
                                         Document      Page 13 of 17
is necessary; and this Court having reviewed the Motion and having heard statements in support

of the Motion at a hearing held before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and the First Day Declaration

and at the Hearing establish just cause for the relief granted herein; and any objections to the

relief requested in the Motion having been withdrawn or overruled on the merits; and after due

deliberation thereon and good and sufficient cause appearing therefor, it is hereby

         ORDERED, ADJUDGED AND DECREED THAT:

         1.      The Motion is GRANTED as set forth herein.

         2.      The above-captioned Chapter 11 Cases shall be jointly administered by the Court

and consolidated for procedural purposes only under the case of Curae Health, Inc., Case No. 18-

05665.

         3.      If, when filed, these Chapter 11 Cases were assigned to separate judges, all of the

Chapter 11 Cases shall be transferred to the judge presiding over the Chapter 11 Case of Curae

Health, Inc., Case No. 18-05665.

         4.      The caption of the jointly administered Chapter 11 Cases shall read as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

In re:                                                )
                                                      )           Chapter 11
                            1                                     Case No. 18-05665
Curae Health, Inc., et al.                            )
                                                      )
1721 Midpark Road, Suite B200                         )           Judge Walker
Knoxville, TN 37921                                   )
                           Debtors.                   )           Jointly Administered




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Curae Health, Inc. (5638); Amory Regional Medical Center, Inc. (2640); Batesville Regional Medical


                                                       -2-
64901774.1
Case 3:18-bk-05665              Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51                    Desc Main
                                        Document      Page 14 of 17
Center, Inc. (7929); and Clarksdale Regional Medical Center, Inc. (4755); Amory Regional Physicians, LLC (5044);
Batesville Regional Physicians, LLC (4952); Clarksdale Regional Physicians, LLC (5311).

         5.      The Clerk of this Court shall make a docket entry in each Chapter 11 Case (except

that of Curae Health, Inc.) substantially as follows:

                 “An order has been entered in this case directing the procedural
                 consolidation and joint administration of the chapter 11 cases of
                 Curae Health, Inc. and its affiliates that have concurrently
                 commenced chapter 11 cases. The docket in the chapter 11 case of
                 Curae Health Inc., Case No. 18-05665, should be consulted for all
                 matters affecting this case.”

         6.      The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Order in accordance with the Motion.

         7.      Notice of the Motion as provided therein shall be deemed good and sufficient, and

the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied by such notice.

         8.      Notwithstanding the applicability of any Bankruptcy Rule, the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry.

         9.      Notwithstanding the relief granted in this Order, any creditor filing a proof of

claim against any Debtor shall file such proof of claim in the Chapter 11 Case of each Debtor to

which such claim relates.

         10.     Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases.

         11.     The Filings shall be subject to the Notice Procedures described herein, which are

hereby implemented and approved pursuant to Sections 102(1) and 105 of the Bankruptcy Code

and Bankruptcy Rules 2002(m) and 9007.

         12.     All Filings shall be filed with the Court in accordance with regular Court

procedures.




                                                     -3-
64901774.1
Case 3:18-bk-05665           Doc 3     Filed 08/24/18 Entered 08/24/18 17:23:51                   Desc Main
                                      Document      Page 15 of 17
         13.    BMC Group, Inc. (“BMC Group”) shall act as the official noticing agent in this

case, as more fully described below.

         14.    BMC Group shall monitor the docket in this case and coordinate with Debtors’

counsel to ensure that BMC Group has copies of all Filings in the Debtors’ case.

         15.    All Filings in this case shall be served upon the Master Service List, as defined in

the Motion and all entities with a particularized interest in the Filing. Parties may be added or

deleted from the Master Service List upon written request for good and sufficient cause, in

accordance with the procedures set forth in this Order.

         16.    All of the foregoing matters or proceedings set forth in this paragraph of this

Order shall be noticed in accordance with the applicable provisions of Bankruptcy Rule 2002;

provided, however, that nothing in this Order shall prejudice: (i) the rights of any party in interest

to move the Court to further limit or expand notice of such matters and proceedings upon a

showing of good cause, including, but not limited to, the right to file a motion seeking

emergency ex parte consideration or consideration upon shortened time; or (ii) the rights of any

party to seek an enlargement or reduction of a time period under Bankruptcy Rule 9006(b) or (c).

         17.    Service of all Filings shall be sufficient if by first class mail, electronic mail (if

available), or facsimile (if available).

         18.    Any entity submitting a Filing shall serve a notice of such Filing on all 2002 List

Parties, as defined in the Motion.

         19.    Notice given in accordance with the Notice Procedures shall be deemed adequate

pursuant to the Bankruptcy Code, the Bankruptcy Rules and the Local Rules of the United States

District Court for the District of Tennessee and for the United States Bankruptcy Court for the

Middle District of Tennessee.



                                                -4-
64901774.1
Case 3:18-bk-05665         Doc 3      Filed 08/24/18 Entered 08/24/18 17:23:51           Desc Main
                                     Document      Page 16 of 17
         20.    A copy of this Order shall be served by the Debtors or BMC Group on the Master

Service List.

         21.    The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         22.    This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the interpretation, implementation, or enforcement of this Order.

This Order Was Signed And Entered Electronically As Indicated At The Top Of The First
Page


APPROVED FOR ENTRY:

POLSINELLI PC

/s/ Michael Malone
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Proposed Counsel to the Debtors and
Debtors in Possession




                                               -5-
64901774.1
Case 3:18-bk-05665        Doc 3    Filed 08/24/18 Entered 08/24/18 17:23:51            Desc Main
                                  Document      Page 17 of 17
